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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

       v.                                               17-CR-32
                                                        DECISION AND ORDER
 ISIAH PIERCE a/k/a Isiah Johnson and
 LARRY WILLIS,

              Defendants.



      On November 22, 2017, after hearing evidence over three days and deliberating

for a day and a half, the jury returned a verdict on the 12-count superseding indictment

in this matter. The charges were based on narcotics and weapons recovered from both

the upper and lower apartments at 70 Henrietta Avenue in Buffalo, New York, as well as

narcotics found in police interview rooms at 45 Elm Street in Buffalo. Docket Item 32.

Defendant Isiah Pierce was acquitted of conspiring to sell narcotics and possessing

narcotics found in the interview room where he was placed after his arrest; he was

convicted on seven counts of possessing narcotics and weapons consistent with what

was found in the upper apartment at 70 Henrietta. Defendant Larry Willis was acquitted

of conspiring to sell narcotics, of possessing those narcotics found only in the upper

apartment, and of possessing the narcotics found in the interview room where he was

placed after his arrest; he was convicted on five counts of possessing narcotics and

weapons consistent with what was found in the lower apartment.

      At the conclusion of the government's proof at trial, both defendants moved for

judgments of acquittal under Federal Rule of Criminal Procedure 29. After trial, both
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defendants renewed those motions as to the counts of conviction. For the following

reasons, those motions are denied.


                                            FACTS


       On December 1, 2016, as part of a narcotics investigation, police officers

obtained and executed two search warrants for the duplex at 70 Henrietta Avenue,

Buffalo, New York—first for the lower apartment and then for the upper apartment. On

the same day, but before the warrants were obtained and executed, police arrested

both Pierce and Willis, who had been seen exiting the house separately.

       The officers who executed the search found narcotics and weapons in both the

upper and lower apartments. In addition, the officers who processed both defendants at

the police station found narcotics on the floor of the separate rooms in which each

defendant was held. More specifically, in the room where Willis was held, the officers

found a quantity of heroin and a quantity of cocaine base; in the room where Pierce was

held, the officers found a quantity of cocaine base.

       Both defendants were charged with conspiring to possess and distribute

narcotics; possessing narcotics with intent to distribute them; possessing firearms in

furtherance of drug trafficking crimes; possessing firearms when they were precluded

from doing so by prior felony convictions; and maintaining a drug-involved premises.

More specifically, the most recent charges—filed on May 19, 2017—included the

following:

             •   Count 1 – conspiring to possess with intent to distribute and to distribute
                 heroin and butyryl fentanyl, cocaine base, cocaine, and fentanyl; and
                 conspiring to use and maintain 70 Henrietta Avenue for the purpose of
                 manufacturing, distributing, and using those substances (both
                 defendants);

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          •   Count 2 – possessing cocaine base with intent to distribute (both
              defendants);

          •   Count 3 – possessing heroin and butyryl fentanyl with intent to distribute
              (both defendants);

          •   Count 4 – possessing fentanyl with intent to distribute (both defendants);

          •   Count 5 – possessing cocaine with intent to distribute (both defendants);

          •   Count 6 – maintaining a drug-involved premises (both defendants);

          •   Count 7 – possessing firearms in furtherance of drug trafficking (both
              defendants);

          •   Count 8 – possessing firearms and ammunition by a felon (defendant
              Pierce);

          •   Count 9 – possessing firearms and ammunition by a felon (defendant
              Willis);

          •   Count 10 – possessing heroin with intent to distribute post arrest at the
              police station (defendant Willis);

          •   Count 11 – possessing cocaine base with intent to distribute post arrest at
              the police station (defendant Willis); and

          •   Count 12 – possessing cocaine base with intent to distribute post arrest at
              the police station (defendant Pierce).

Counts 2 through 9 involved the possession of narcotics and weapons at 70 Henrietta

Avenue. Counts 10 through 12 involved the possession of narcotics found in the

interview rooms where each defendant was placed after his arrest. Docket Item 32.

      The prosecution's theory of the case was that both defendants conspired to sell

narcotics from 70 Henrietta. In support of that theory, the government presented

evidence that both defendants were at 70 Henrietta while that property was under

surveillance on December 1, 2016. The government showed the jury clothing

purportedly belonging to both defendants, as well as photos of both defendants, that

were found in the upper and lower apartments. And the government provided the key

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ring that Willis was found with when he was arrested, which included keys that opened

both the main door of the duplex and the door to the lower apartment; and the key ring

that Pierce was found with when he was arrested, which included keys that opened both

the main door and the door to the upper apartment.

       The verdict makes clear that the jury rejected the government's theory that the

two defendants were involved in a narcotics conspiracy. Not only did the jury acquit

both defendants of the conspiracy count, but the jury found defendant Pierce guilty only

of those counts that were consistent with the amounts and types of narcotics found in

the upper apartment and defendant Willis guilty only of those counts consistent with the

amounts and types of narcotics found in the lower apartment.


                                      DISCUSSION


       In their post-trial motions, both defendants claim that the evidence was

insufficient for the jury have convicted them of anything. The defendants propose

alternative views of the facts that they say should have led to each defendant's acquittal

and that they claim "are just as reasonable" as the jury's conclusion of guilt. See, e.g.,

Docket Item 84 at 3 ("at best, the evidence presented lends to an inference of

innocence just as reasonable as one of guilt"); Docket Item 81 at 4 ("the evidence is

equally, if not more consistent, with an inference that the defendant was at 70 Henrietta"

for an innocent purpose).

       On a Rule 29 motion for acquittal, however, the defendant bears a heavy burden.

The defendant's conviction "must be affirmed if any rational trier of fact could have

found the essential elements of the crime beyond a reasonable doubt." United States v.

Cote, 544 F.3d 88, 98 (2d Cir. 2008) (quotations and alterations omitted). All inferences

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must be drawn in favor of the government, and the court must view the evidence in the

light most favorable to the government. See id. at 93; United States v. Puzzo, 928 F.2d

1356, 1361 (2d Cir. 1991). The court may not substitute its own view of the evidence

for that of the jury, and if both a reasonable doubt and no reasonable doubt are "fairly

possible, the court must let the jury decide the matter." United States v. Autuori, 212

F.3d 105, 114 (2d Cir. 2000) (quotations and alterations omitted).

       Here, the jury's verdict was not only reasonable but was careful, thoughtful, and

logically consistent. The jury found the evidence that the defendants conspired together

insufficient to convict either defendant of conspiracy. It convicted each defendant of

possessing only those narcotics, and therefore presumably those weapons, located in

the apartment over which that defendant clearly had dominion and control. The jury

also found the proof about narcotics found on the floor of the interview rooms

insufficient to link those narcotics beyond a reasonable doubt to the defendants. And

that careful, mixed verdict ought not to be disturbed, especially in light of the strong

evidence connecting defendant Willis to the lower apartment and defendant Pierce to

the upper. Docket Item 89 at 7-8; Gov't Exs. 29A, 29B, 29D, 30B, 30C, 30D, 30E, 30K,

30N, 50, 56, 57; 3506-E; 3506-F.


PIERCE

       Pierce was seen leaving the duplex at 70 Henrietta and was arrested with keys

that opened both the main door and the door to the upper apartment. The key ring

Pierce possessed also had a key for the padlock that secured the bedroom door in the

upper apartment, as well as a Tops Market bonus card that belonged to Courtney

Brouse, the mother of Pierce's child. Locked in that second floor closet were narcotics


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and weapons, one of which had DNA matching Pierce's profile. Gov't Exs. 3506-E,

3506-F.

       Pierce claims that the evidence at trial was insufficient for the jury to conclude

that the keys were his. Docket Item 81. He proposes two theories that he claims are

equally as plausible as the government's theory: 1) that the keys belonged to Tanzie

Fuller, the passenger in the vehicle Pierce was driving when he was stopped and

arrested; and 2) that Pierce was test driving the car for possible purchase, noting that

the car was registered to defendant Willis. And because the keys did not necessarily

belong to him, Pierce argues, the link between him and the upper apartment was

tenuous at best.

       There are several problems with Pierce's arguments. First, other than the fact

that Fuller was once in Brouse’s home, no evidence connected Fuller to Brouse in a

way that would explain why Brouse's Tops Market card might be on Fuller's key ring. In

contrast, there was a great deal of evidence connecting Brouse with Pierce. As noted

above, Brouse was Pierce's girlfriend and is the mother of his child. Moreover, shortly

after Pierce was arrested, he called Brouse and discussed bail money that was located

at her residence. In fact, police officers later obtained a search warrant for Brouse’s

residence and recovered a safe containing $20,000 and a shoebox containing over

$5,500. Even though, as Pierce notes, the government did not present evidence that

Pierce still lived with Brouse or was still in a relationship with her, there clearly was

enough of a connection between Pierce and Brouse for the jury to find beyond a

reasonable doubt that the key ring with Brouse's Tops Market card recovered from

Pierce indeed belonged to him.



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      The connection between Pierce and Brouse also supports the jury's rejection of

Pierce's second theory: that he was test driving Willis's car when he was arrested and

that the keys therefore were not his. The car may have been registered to Willis, but

the evidence did not offer any reason why Brouse's Tops card would be on Willis's key

ring; in fact, there was no apparent connection between Brouse and Willis, in marked

contrast to Brouse and Pierce. So regardless of the name on the car's registration, the

jury's rejection of Pierce's second theory at trial was neither unreasonable nor

unwarranted.


WILLIS

      The evidence connecting Willis to the lower apartment was even stronger. When

Willis was arrested, he was alone and in possession of keys that opened the main

entrance and the lower apartment at 70 Henrietta. A photograph found in that

apartment showed Willis with that same key ring on his belt. So the jury certainly could

have concluded that those keys belonged to Willis and gave him dominion and control

over the lower apartment.

      In addition, there were numerous photos of Willis in the lower apartment. One of

those photos showed Willis in distinctive clothing—clothing that the police recovered

when they searched the lower apartment. The fact that Willis's clothes—as proven by

the photos—were found in the apartment further supports the conclusion that he had

dominion and control over it.

      What is more, the lower apartment was littered with several documents, including

motor vehicle records and insurance records, bearing Willis's name. One of those

documents was a Buffalo Police Department incident card that had been given to Willis


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at the scene of a motor vehicle accident about a month before the search of the

apartment. Those documents likewise linked Willis to the lower apartment.

       All that evidence, combined with the testimony that Willis was at 70 Henrietta for

several hours while that duplex was under surveillance by law enforcement, amply

supports the jury's verdict.


DOMINION

       Both defendants argue that because the narcotics and weapons were hidden

rather than exposed in the upper and lower apartments, the jury had no basis for

concluding that the defendants knew that the narcotics and weapons were in the

apartments. Willis cites United States v. Navedo, 443 F. Supp. 2d 431, 436 (W.D.N.Y.

2006) in support of the proposition that narcotics hidden in a house may not be

constructively possessed by someone found in the house. But the facts of Navedo

were markedly different from the facts here. Navedo was at the house only to purchase

narcotics; other than that, he had no connection to it. Id. at 434-35. Here, in marked

contrast, the defendants had keys giving them access to—and control over—the

respective apartments. Pierce also had a key to the locked closet where the narcotics

and weapons were found in the upper apartment. And other evidence—photos,

clothing, and documents, for example—connected each defendant to his respective

apartment.

       Given the strong evidence connecting each defendant to one of the apartments,

the jury inferred that each defendant exercised dominion and control over, and knew

about, the narcotics and weapons hidden in his respective apartment. That inference

was no stretch. Especially, because this Court must draw all reasonable inferences in


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favor of the government on a Rule 29 motion, the defendants’ argument offers no

reason to disturb the jury verdict.

         The verdict makes clear that the jury linked Willis with the lower apartment and

Pierce with the upper apartment. The jury's acquittal of both defendants on the

conspiracy charge, its acquittal of both defendants on the charge of possessing

narcotics at the police station, and its acquittal of Willis on the charges of possessing

narcotics found only in the upper apartment evidences a careful and logical review of

the proof; it also demonstrates a good understanding of the jury's responsibility to

convict a defendant only if it were convinced of that defendant's guilt beyond a

reasonable doubt. There is no reason to revisit that thoughtful verdict, and the

defendants' Rule 29 motions therefore are DENIED.

         SO ORDERED.


Dated:         February 21, 2018
               Buffalo, New York
                                               s/Lawrence J. Vilardo
                                              LAWRENCE J. VILARDO
                                              UNITED STATES DISTRICT JUDGE




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